a. Pla Doc 220-2 Filed 03/13/2 search...
N/A Mail - Platfo@PA CAV RGRGE Cc Obit? emai Toosley RIE SAR cil a OFA 1 eRBSaRE ND hea h

Reg Gmail Keevan Morgan <kmorgan@morganandbleylimited.com>

Platform II Lawndale LLC

Toosley, Adam <atoosley@sgriaw.com> Tue, Mar 12, 2024 at 3:06 PM
To: Keevan Morgan <kmorgan@morganandbleylimited.com>

Keevan,

When the issue was brought up before Judge Thorne, she said that she wanted all of the funds turned over to the
Receiver and then the issue decided as to where the funds should go in the state court case after additional
investigation was performed.

We are entitled to an accounting here and we were robbed of that opportunity when the court order was
violated.

Adam

Adam C. Toosley
Partner

p | 312-360-6018 .

f | 312-360-6520 Smith

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From: Keevan Morgan <kmorgan@morganandbleylimited.com>
Sent: Tuesday, March 12, 2024 1:57 PM

To: Toosley, Adam <atoosley@sgrlaw.com>

Subject: Platform || Lawndale LLC

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